299 F.2d 846
    John Hershel STOUDENMIRE, a minor, by John L. Stoudenmire and Sara Stoudenmire, his parents and next friend, and John L. Stoudenmire and Sara Stoudenmire, individually, et al., Appellants,v.Daly N. BRAXTON and Sharon Braxton, minors, by Sadie Braxton, their mother and next friend, et al., Appellees.
    No. 19259.
    United States Court of Appeals Fifth Circuit.
    March 9, 1962.
    
      Dean Boggs, Lucien H. Boggs, J. Donald Bruce, Jacksonville, Fla., Lanas Troxler, Coakley Taylor, Jacksonville, Fla., of counsel, for appellants.
      Earl M. Johnson, Jacksonville, Fla., Constance Baker Motley, New York City, for appellees.
      Before TUTTLE, Chief Judge, and BROWN and BELL, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an attempt by the named appellants and others to appeal from an order entered by the district court denying the appellants the right to intervene in litigation commenced by Negro plaintiffs against the Board of Public Instruction of Duval County, Florida. The order issued by the trial court was not a final order or decision of the district court as contemplated by Section 1291 of Title 28 U.S.C.A. Nor is it the exceptional type of interlocutory order that may be appealed under Section 1292. This Court, therefore, has no jurisdiction to entertain the appeal. Although no motion to dismiss has been filed by appellees the jurisdiction of this Court must always be inquired into by the Court on its own motion if it comes in question.
    
    The appeal is
    
      2
      Dismissed.
    
    